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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                             HELENA DIVISION


HUGUETTE NICOLE YOUNG,                         Case No. CV-20-065-H-CCL

                                               JUDGMENT IN A CIVIL CASE
                     Plaintiff,

  vs.

TIM FOX, IN HIS OFFICIAL
CAPACITY AS ATTORNEY
GENERAL OF THE STATE OF
MONTANA,

                     Defendant.


        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

     IT IS ORDERED AND ADJUDGED that this case is DISMISSED
 WITHOUT PREJUDICE.

        Dated this 21st day of October 2020.

                                  TYLER P. GILMAN, CLERK

                                  By: /s/ Heidi Gauthier
                                  Heidi Gauthier, Deputy Clerk
